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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 14-22877-CIV-LENARD/GOODMAN

 INTERNATIONAL VAPOR GROUP, INC., et al.

        Plaintiffs,

 v.

 ALLAN ROTHSTEIN.

       Defendant.
 _____________________________________________/

                            NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs

 International Vapor Group, Inc. and Nicolas Molina hereby voluntarily dismiss the above-

 captioned case, without prejudice.


 Dated: September 2, 2014
                                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was filed with the Clerk of Court

 and sent via the Clerk’s CM/ECF electronic filing system this 2nd day of September, 2014, to all

 counsel of record.


                                                    By:_/s/ Chauncey D. Cole____
                                                           Chauncey D. Cole




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